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                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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 10    SUSANO PEREZ,                               Case No. 8:21-cv-00888-FLA (KK)
 11                              Petitioner,
 12                       v.                       JUDGMENT
 13    PATRICK EATON, Warden,
 14                              Respondent.
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 17         Pursuant to the Order Accepting Findings and Recommendation of United
 18   States Magistrate Judge,
 19         IT IS HEREBY ADJUDGED that the Petition for a Writ of Habeas Corpus
 20   is DISMISSED with prejudice.
 21
 22   Dated: November 9, 2021
                                               FERNANDO L. AENLLE-ROCHA
 23                                            United States District Judge
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